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15                                UNITED STATES DISTRICT COURT
16                                         DISTRICT OF NEVADA
17    ETREPPID TECHNOLOGIES, L.L.C.,
18                           Plaintiffs,                         Case No. 3:06-CV-00056-PMP-VPC
                                                                 Base File
19           vs.
                                                                 3:06-CV-00145-PMP-VPC
20    DENNIS MONTGOMERY, BRENDA
      MONTGOMERY, THE MONTGOMERY                                 ETREPPID TECHNOLOGIES,
21    FAMILY TRUST, EDRA BLIXSETH,                               L.L.C.’S EMERGENCY MOTION
      OPSPRING, INC., AND BLXWARE, INC.,                         TO CORRECT NAME OF
22                                                               JUDGMENT DEBTOR AND
                             Defendants.                         MOTION FOR ORDER
23                                                       /       SHORTENING TIME
24

25

26           eTreppid Technologies, L.L.C. (“eTreppid”) hereby files its Emergency Motion to

27    Correct Name of Judgment Debtor Blxware, Inc. This Motion is supported by the following

28    points and authorities, and all papers and pleadings filed herein.

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 1                        MEMORANDUM OF POINTS AND AUTHORITIES
 2           As this Court is aware, the eTreppid parties and the Blixseth Parties agreed to settle this
 3    matter in September 2008. As security for their obligations under the settlement agreement, the
 4    Blixseth Parties executed three separate Confessions of Judgment in favor of eTreppid, Warren
 5    Trepp, and Friendly Capital Partners. These Confessions of Judgment were executed, on the part
 6    of the Blixseth Parties, by Dennis Montgomery, Brenda Montgomery, and Edra Blixseth, who
 7    executed personally and on behalf of Opspring, Inc. and Blxware, Inc.
 8           Unfortunately, since the settlement was executed, it has become apparent that there is no
 9    such entity as “Blxware, Inc.” To the contrary, it appears that the appropriate entity is “Blxware,
10    LLC.” Although the initial settlement memorandum, which was executed on September 16,
11    2008, identified Blxware, LLC” as a party, that name was changed to “Blxware, Inc.” in the final
12    settlement documents. This change was apparently inadvertent, as no such entity exists.
13           Pursuant to Fed. R. Civ. P. 60, clerical mistakes in judgments “may be corrected by the
14    court at any time.” Accordingly, eTreppid respectfully requests that the Confession of Judgment
15    in favor of eTreppid, which was filed in this Court on December 11, 2008, (Docket No. 898) be
16    corrected to identify Blxware, LLC, rather than Blxware, Inc. as a debtor. eTreppid further
17    requests that this Court order that the requested amendment apply retroactively to December 11,
18    2008, when the Confession of Judgment was filed.
19           Finally, because eTreppid is currently engaged in efforts to collect on the subject
20    judgment, and because eTreppid does not anticipate that the present motion will be subject to
21    significant opposition from the Blixseth Parties, eTreppid respectfully requests that this motion
22    be heard on shortened time. Specifically, eTreppid requests that any opposition to the present
23    motion be ordered filed not later than Friday, March 13, 2009, and that any reply in support of
24    this motion be filed by Monday, March 16, 2009.
25    ///
26    ///
27    ///
28    ///
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 1          For all of the foregoing reasons, eTreppid respectfully requests that its Motion to Correct
 2    Name of Judgment Debtor be granted.
 3          Dated: March 6, 2009.
 4
                                                                 /s/
 5                                                       J. Stephen Peek, Esq. (NV Bar #1758)
                                                         Jerry M. Snyder, Esq. (NV Bar #6830)
 6                                                       Adam G. Lang, Esq. (NV Bar #10117)
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15                                                       eTreppid Technologies, L.L.C. and
                                                        Cross-Defendant Warren Trepp
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                                               Page 3 of 5
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 1                                           PROOF OF SERVICE
 2            I, Cynthia L. Kelb, declare:
 3            I am employed in the City of Reno, County of Washoe, State of Nevada, by the law
      offices of Holland & Hart LLP. My business address is: 5441 Kietzke Lane, Second Floor,
 4    Reno, Nevada 89511. I am over the age of 18 years and not a party to this action. I am readily
      familiar with Holland & Hart LLP’s practice for collection of mail, delivery of its hand-
 5    deliveries and their process of faxes.
 6        On March 6, 2009, I caused the foregoing ETREPPID TECHNOLOGIES, L.L.C.’S
      EMERGENCY MOTION TO CORRECT NAME OF JUDGMENT DEBTOR AND
 7    MOTION FOR ORDER SHORTENING TIME to be:
 8    _X___          filed electronically with the U.S. District Court and therefore the court’s computer
                     system has electronically delivered a copy of the foregoing document to the
 9                   following person(s) at the following e-mail addresses:
10

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                                                 Page 4 of 5
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 7    The Water Garden
      1620 26th Street, 4th Floor, North Tower
 8    Santa Monica, CA 90404
      Fax No. 310-907-2000
 9

10
             I declare under penalty of perjury under the laws of the United States of America that the
11    foregoing is true and correct, and that this declaration was executed on March 6, 2009.
12
                                                                 /s/
13                                                        Cynthia L. Kelb
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